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UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR LEAVE TO
         FILE A REPLY IN SUPPORT OF A PRELIMINARY INJUNCTION
                 LIMITED TO SUSPENSION OF LIQUIDATION

       Defendants, the United States et al., respectfully submit this response to plaintiffs’

motion for leave to file a reply in support of a preliminary injunction limited to suspension of

liquidation (Pl. Mot). The Rules of the Court do not permit plaintiffs to file a reply absent leave

of Court. U.S. Court of International Trade Rule 7(d). While we defer to the Court’s discretion

as to whether to grant plaintiffs’ motion for leave, we highlight several points below.

       First, plaintiffs’ initial argument as to why a reply is warranted here — because our

opposition “delve[d] deeply into merits issues,” despite “the very limited nature of the interim

relief” they seek — disregards the law. Pl. Mot. at 3. Plaintiffs should have anticipated a

thorough treatment of the merits of the section 301 cases in our opposition, as likelihood of

success on the merits is a factor that must be considered in deciding any motion for injunctive

relief. See Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1345 (Fed. Cir. 2018); see also LG

Elecs., Inc. v. U.S. Int'l Trade Comm’n, 37 C.I.T. 1589, 1591 (2013), as amended (Dec. 27,

2013) (denying plaintiff’s motion for leave to file a reply because “it did not raise any issue that

could not have been or was not already addressed in its [opening motion]”) (emphasis added).

Plaintiffs made no effort in their motion to address any of the defenses articulated in our Master

Answer, which put plaintiffs on notice of the issues that would need to be resolved in order to
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demonstrate any likelihood of success on the merits. In addition, plaintiffs have cited no

authority suggesting that courts need not consider likelihood of success on the merits when the

injunctive relief sought is “limited” in nature. Moreover, plaintiffs’ requested relief is not

“limited,” given the significant burden that it would impose on the Government.

       Second, plaintiffs state that the Government’s view of the law regarding the availability

of refunds was not “fully explained” prior to our opposition, and that we raised arguments not

addressed in their motion for a preliminary injunction. Pl. Mot. at 3. Plaintiffs’ proposed reply,

however, devotes two paragraphs to this law, citing cases already addressed in their motion for a

preliminary injunction. Proposed Reply, ECF No. 307-1 at 20-21. While the proposed reply

also addresses the “delay” argument raised in our opposition, plaintiffs could have addressed this

in their motion for preliminary injunction, given that we previously raised the issue in the joint

status report. Joint Status Report, ECF No. 274 at 8. Likewise, plaintiffs could have anticipated

our other arguments related to irreparable harm, as it is well-established, among other things, that

economic harm alone does not suffice to make the required showing. See Proposed Reply at 23-

24 (responding to arguments regarding the insufficiency of plaintiffs’ showing of economic

harm). We defer to the Court’s discretion as to whether plaintiffs’ proposed reply on these

points “aids the court’s understanding of the disagreement between the [p]arties . . . .” Hyundai

Elec. & Energy Sys. Co. v. United States, 477 F. Supp. 3d 1324, 1328 (Ct. Int’l Trade 2020).

       Finally, plaintiffs claim that a reply is warranted to address “newly presented arguments

regarding [our] alleged burden of compliance with any interim relief,” as well as our alternative

proposed order, submitted in response to the Panel’s suggestion at the April 26, 2021 status

conference. Pl. Mot. at 3. However, in responding to these issues, plaintiffs misunderstand our

position, declaring that “the fact that millions of entries have already liquidated does not
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increase the Government’s burden of complying with Plaintiffs’ request to suspend liquidation,”

because the request would apply “on a prospective basis only.” Proposed Reply at 25 (emphasis

on “have already liquidated” added, emphasis on “prospective basis only” omitted). Indeed, as

we explained in our opposition, plaintiffs’ delay in raising issues of relief before the Court would

increase our burden because, during this time, millions of entries “have been made” — meaning

entries have been imported, not necessarily liquidated. Gov. Opposition at 3, 30; see also id. at

31-32 (“[s]uspending the liquidation of all future entries and unliquidated past entries at issue

here” would impose a significant burden on CBP) (emphasis added). In support of this fact, we

referenced the number of entries subject to the challenged section 301 tariffs that remained

unliquidated as of March 31, 2021 — 4.9 million. Id. at 30-31. Plaintiffs’ proposed response,

therefore, is misguided. Indeed, the existence of 4.9 million unliquidated entries increases the

burden on the Government if the Court orders the suspension of liquidation, as CBP anticipates

that a significant number of these entries were filed by plaintiffs in the section 301 cases, see

Declaration of Thomas Overacker, ECF No. 304-1 at ¶ 7(c), making them subject to a Court

order. In addition, plaintiffs’ proposed response to issues raised in our alternative proposed order

is confined to a single footnote. Proposed Reply at 25-26, fn 4. We again defer to the Court’s

discretion as to whether plaintiffs’ proposed reply “aids the court’s understanding of the

disagreement between the [p]arties.” Hyundai, 477 F. Supp. at 1328.

                                                   Respectfully submitted,


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                                                      /s/ Jeanne E. Davidson
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                                                      Director
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May 26, 2021                                  Attorneys for Defendants




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